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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

-V- 08-CR-

JOSEPH ANDERSON,

Defendant. 08 CR 382 /

cchatla cegele
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PLEA AGREEMENT

The defendant, JOSEPH ANDERSON, and the United States Attorney
for the Western District of New York (hereinafter “the government")
hereby enter into a plea agreement with the terms and conditions as

set out below.

I. THE PLEA AND POSSIBLE SENTENCE
1. The defendant agrees to waive indictment and plead guilty
to a one-count Information charging a violation of Title 18, United
States Code, Sections 1341, 1346, and 2 [aiding and abetting a
public official in a scheme to deprive the City of Niagara Falls
and its people of their intangible right to the honest services of
a public official], for which the maximum sentence is a term of

imprisonment of twenty years, a fine of $250,000, a mandatory $100

special assessment, and a term of supervised release of three

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years. The defendant understands that the penalties set forth in
this paragraph are the maximum penalties that can be imposed by the

Court at sentencing.

2. The defendant understands that, if it is determined that
he has violated any of the terms or conditions of supervised
release, he may be required to serve in prison all or part of the
term of supervised release, up to two years, without credit for
time previously served on supervised release. As a consequence, in
the event the defendant is sentenced to the maximum term of
incarceration, a prison term imposed for a violation of supervised
release may result in the defendant serving a sentence of
imprisonment longer than the statutory maximum set forth in

paragraph 1 of this agreement.

It. ELEMENTS OF THE CRIME AND FACTUAL BASIS

3. The defendant understands the nature of the offense set
forth in paragraph 1 of this agreement and understands that if the
case proceeded to trial, the government would be required to prove
beyond a reasonable doubt each of the following elements of the
crime: a) the defendant aided and assisted another person in
devising and executing a scheme; b) the purpose of the scheme was

to deprive the City Of Niagara Falls, New York, and its people of

their intangible right to the honest services of an elected

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official; c) for the purpose of executing the scheme the defendant
caused any matter to be sent or delivered by private or commercial

interstate carrier; and d) the defendant acted knowingly.

FACTUAL BASIS
4. The defendant and the government agree to the following
facts, which form the basis for the entry of the guilty plea
including relevant conduct:

a) At all times referred to in the Information, the defendant,
Joseph Anderson, was a businessman and the owner of SMOKIN JOES, a
cigarette and gasoline retailer located at 2293 Saunders Settlement
Road in Sanborn, New York, in Niagara County.

b) The defendant had financial interests in several businesses in
and around the City of Niagara Falls, New York, including, for
example, the Wintergarden. The Wintergarden was a glass structure
located at the west end of the East Pedestrian Mall in the City of
Niagara Falls, New York. The East Pedestrian Mall was at all times
relevant herein an area approximately two city blocks long
extending eastward from the Wintergarden, and ending before the
front of the Seneca Niagara Casino, which formerly was the Niagara
Falls Convention Center. The East Pedestrian Mall was closed to
vehicular traffic.

c) In June 2003, Vincenzo Anello was an elected member of the City
Council of Niagara Falls, New York. The City Council was the
City’s legislative body and contained five members. In 2003,
Councilman Vincenzo Anello also was a candidate for mayor of the
City of Niagara Falls. The City’s mayoral election was scheduled
for November 2003.

ad) In June 2003, the defendant was asked by Councilman Vincenzo
Anello to loan money to Councilman Anello. This request from
Anello was made through another person, who knew both Anello and
the defendant well, whereas Anello and Anderson were not close
acquaintances. Councilman Anello advised the defendant that he
(Anello}) had debts relating to his business as an electrical
contractor which, if they remained unpaid, would embarrass

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Councilman Anello as a candidate for mayor. The defendant and
Councilman Anello understood that Anderson’s consent to provide
money to Anello would enable Anderson to get “inside” and thus
enable the defendant to receive favorable consideration in business
undertakings from Anelio, if Anello was elected as mayor.
Councilman Anello advised the defendant that this matter of
Councilman Anello’s finances could not be the subject of reports in
the press.

e) On or about June 20, 2003, the defendant approved the issuance
of a check drawn on the Fleet bank checking account of Aarow
Brokers. The amount of the check was $15,000. This check was
provided to Councilman Anello and was made payable to Anello
Electric Construction Company. Aarow Brokers was a corporation in
which Anderson's then-wife, Gail Anderson, was nominally a
principal, but whose main purpose was to sign checks that were
approved by the defendant. This check was signed for Aarow Brokers
by Gail Anderson.

£) On or about July 30, 2003, Anderson approved the issuance of
another check drawn on the Fleet bank checking account of Aarow

Brokers. The amount of this check also was $15,000. This check
was provided to Councilman Anello and made payable to Anello
Electric Construction Company. The check was signed for Aarow

Brokers by Gail Anderson.

g) On or about November 12, 2003, after Councilman Anello was
elected Mayor of the City of Niagara Falls, New York, the defendant
approved the issuance of a third Aarow Brokers check for Anello.
This third check was for $10,000 and was made payable to Vincenzo
Anello. The check was signed for Aarow Brokers by Gail Anderson.

h) The processing of the aforementioned checks for payment and
posting involved the shipment of the checks in interstate commerce
by interstate commercial carriers between the States of New York
and Connecticut.

i) The three payments to Councilman and then Councilman and Mayor-
elect Anello, totaling $40,000, were made from the Aarow Brokers
account because the defendant and Anello did not want to show the
payments as being made from Smokin’ Joes to Anello. The payments
nominally were loans at zero percent interest, payable on demand.

j) On January 1, 2004, Anello began his term as Mayor of the City
of Niagara Falls. The defendant was among a group of persons who
expressed interest in leasing the East Pedestrian Mall. Obtaining
such a lease required approval of a majority of the City Council.
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Anello supported the efforts of the defendant’s corporation, East
Mall Entertainment, to obtain the lease. The lease was proposed by
Anello to be awarded to East Mall Entertainment, LLC, without a
bidding process, for an initial five-year term during which the
annual rent for the first year was $7,500. The proposed lease
agreement was, on March 23, 2004, placed on the agenda for the city
Council meeting scheduled for March 29, 2004.

k) Anello introduced the defendant during the meeting of the City
Council on March 29, 2004, and recommended that the proposed lease
be approved by the Council. At no time during that meeting, or at
any time prior to the meeting, did Anello or the defendant disclose
to any member of the City Council that Anello had received the
above described $40,000 from the defendant the previous year.

1) As of the expiration of Vincenzo Anello’s term as Mayor of the
City of Niagara Falls on December 31, 2007, the defendant never

asked for repayment of the aforementioned money, and no repayment
was made.

III. SENTENCING GUIDELINES
5. The defendant understands that the Court must consider

but is not bound by the Sentencing Guidelines.

BASE OFFENSE LEVEL

6. The government and the defendant agree that Guidelines
§2C1.1(a} (2) applies to the offense of conviction and prescribes a

base offense level of 12.

SPECIFIC OFFENSE CHARACTERISTICS

7. The government and the defendant agree that the offense

level will be increased by six levels pursuant to Guidelines

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Sections 2C1.1(b) (2) and 2B1.1(b)({1)(D), because the value of the

payments was greater than $30,000.

8. The government and the defendant agree that the offense
level will be increased by four levels pursuant to Guidelines
Section 2C1.1(b) (3), because the offense involved an elected public

official.

ACCEPTANCE OF RESPONSIBILITY

9. At sentencing, the government agrees not to oppose the
recommendation that the Court apply the two-level downward
adjustment prescribed by Guidelines Section 3E1.1(a) (acceptance of
responsibility), and further agrees to move the Court to apply the
additional one-level downward adjustment pursuant to Guidelines

§3E1.1(b), which would result in a total offense level of 19.

CRIMINAL HISTORY CATEGORY
10. It is the understanding of the government and the
defendant that the defendant's criminal history category is I. The
defendant understands that if the defendant is sentenced for, or
convicted of, any other charges prior to sentencing in this case

the defendant's criminal history category may increase. The

defendant understands that the defendant has no right to withdraw

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his guilty plea on account of the Court’s determination of the

defendant’s criminal history category.

GUIDELINES! APPLICATION, CALCULATIONS AND IMPACT

11. It is the understanding of the government and the
defendant that, with a total offense level of 19 and criminal
history category of I, the defendant's sentencing range would be a
term of imprisonment of 30 to 37 months, a fine of $6,000 to
$60,000, and a period of supervised release of two to three years.
Notwithstanding this, the defendant understands that at sentencing
he is subject to the maximum penalties set forth in paragraph 1 of

this agreement.

12. The government and the defendant agree to the Sentencing
Guidelines calculations set forth in this agreement, and neither
party will advocate or recommend the application of any other
Guideline, or move for any Guidelines departure, or move for or
recommend a sentence outside the Guidelines, except as specifically
set forth in this agreement. A breach of this paragraph by one
party will relieve the other party of any agreements made in this
plea agreement with respect to sentencing motions and
recommendations. A breach of this paragraph by the defendant shall

also relieve the government from any agreements to dismiss or not

pursue additional charges.

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13. The defendant understands that the Court is not bound to
accept any Sentencing Guidelines calculations set forth in this
agreement, and the defendant will not be entitled to withdraw his

guilty plea on account of the sentence imposed by the Court.

IV. STATUTE OF LIMITATIONS

14. In the event that the defendant’s guilty plea is
withdrawn, or if his conviction is vacated, either pre- or post-
sentence, by way of appeal, motion, post-conviction proceeding,
collateral attack or otherwise, the defendant agrees that any
charges dismissed pursuant to this agreement shall be automatically
reinstated upon motion of the government, and he further agrees not
to assert the statute of limitations as a defense to any other
criminal offense involving or related to the facts set forth in
Section II of this Plea Agreement. This waiver shall be effective
for a period of six months following the date upon which the
withdrawal of the guilty plea or vacating of the conviction becomes

final.

V. GOVERNMENT RIGHTS AND RESERVATIONS
15. The defendant understands that the government has

reserved the right to:

a. provide to the Probation Office and the
Court all the information and evidence in its

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possession that the government deems relevant
concerning the defendant's background,
character and involvement in the offense
charged, the circumstances surrounding the
charge and the defendant's criminal history;

b. respond at sentencing to any statements
made by the defendant or on the defendant's
behalf that are inconsistent with the
information and evidence available to the
government; and

Cc. modify its position with respect to any
sentencing recommendation or sentencing factor
under the Guidelines including criminal
history category, in the event that subsequent
to this agreement the government receives
previously unknown information regarding the
recommendation or factor.

16. The defendant agrees that any financial records and
information provided by the defendant to the Probation Office,
before or after sentencing, may be disclosed to the United States

Attorney’s Office for use in the collection of any unpaid financial

obligation.
Waiver of Right to Post Conviction
DNA Testing of Physical Evidence
17. The defendant understands that, pursuant to Title 18,

United States Code, Section 3600, he may have the right to request

DNA testing of evidence in the possession of the government. Asa

condition of this agreement, the defendant voluntary waives, for

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all purposes, any right to request DNA testing of any such

evidence.

VI. APPEAL RIGHTS

18. The defendant understands that Title 18, United States
Code, Section 3742 affords a defendant a limited right to appeal
the sentence imposed. The defendant, however, knowingly waives the
right to appeal and collaterally attack any component of a sentence
imposed by the Court which falls within or is less than the
sentencing range for imprisonment, a fine and supervised release
set forth in Section III above, notwithstanding the manner in which

the Court determines the sentence.

19. The defendant understands that by agreeing net to

collaterally attack the sentence, the defendant is waiving the

right to challenge the sentence in the event that in the future the

defendant becomes aware of previously unknown facts or a change in
the law which the defendant believes would justify a decrease in

the defendant’s sentence.

20. The government waives its right to appeal any component
of a sentence imposed by the Court which falls within or is greater
than the sentencing range for imprisonment, a fine and supervised

release set forth in Section III above, notwithstanding the manner

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in which the Court determines the sentence. However, in the event
of an appeal from the defendant's sentence by the defendant, the
government reserves its right to argue the correctness of the

‘defendant's sentence.

VII. COOPERATION

21. The defendant will cooperate with the government by
providing complete and truthful information regarding the
defendant's knowledge of any and all criminal activity, whether
undertaken by the defendant or others, in any way involving or
related to the facts set forth in Section II of this agreement.
The defendant's cooperation shall also include submitting to
interviews by government attorneys and agents, as well as
testifying truthfully and completely before grand juries and at
such pre-trial and trial proceedings as the government shall deem

necessary.

22. The defendant's cooperation shall also be provided to any
local, state or federal authorities designated by the government
and who have agreed to abide by the terms of the “Cooperation”
section of this agreement. The defendant's obligation to testify
truthfully and completely shall extend to proceedings in federal,
state and local courts in jurisdictions which have agreed to abide

by this agreement.

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23. In exchange for the defendant's guilty plea and

cooperation as set forth in this agreement, the defendant will not.

be prosecuted by the Office of the United States Attorney for the
Western District of New ‘York for any other federal criminal
offenses committed in the Western District of New York in any way
involving or related to the facts set forth in Section II of this
plea agreement, committed up to the date of this agreement and
about which the defendant provides complete and truthful

information.

24. Further, no testimony, statements or tangible objects

provided by the defendant in compliance with this agreement (or any

information directly or indirectly derived therefrom) will be used
against the defendant in any criminal case, except a prosecution

for perjury or making false statements.

25. Upon condition that the defendant has fully complied with
all terms and conditions of this agreement, should the government
determine that the defendant has provided substantial assistance in
the investigation or prosecution of other persons who have
committed offenses, the government will move the Court at
sentencing to depart downward from the Guidelines by 11 offense
levels as provided for in Guidelines § 5K1.1, which, if granted by

the Court, would result in a total offense level of 8 and a

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sentencing range of 0-6 months imprisonment. The defendant
understands that the decision to make such a motion is within the
sole discretion of the government and that the decision to grant
such a motion, and the extent of any downward departure, are

matters solely within the discretion of the Court.

26. This agreement does not preclude the prosecution of the
defendant for perjury or making false statements in the event the
defendant testifies falsely or provides false information to the
government. This agreement is not contingent upon the filing of
charges against, the return of an Indictment against, or the

successful prosecution of, any person or entity.

27. %«It is a condition of this agreement that, up through the
date of the defendant's sentencing, the defendant shall commit no
further crimes. It is also a condition of this agreement that the
defendant must, at all times, give complete, truthful and accurate
information and testimony and not withhold information from the
government or refuse to testify truthfully and completely. Should
the defendant be sentenced prior to the completion of the
defendant’s cooperation with the government, the defendant's
obligation to comply with the cooperation provisions of this

agreement extends past sentencing.

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28. In the event the government believes the defendant has
violated any of the conditions in the “Cooperation” section of this
agreement, then the government may, before or after sentencing,
petition the Court to declare that the defendant has breached this
agreement and for an order relieving the government of its

obligations under this agreement.

29, Whether or not the defendant has violated any of the
conditions of this agreement shall be determined by the Court in an
appropriate proceeding at which any disclosures and documents
provided by the defendant shall be admissible and at which the
government shall be required to establish any violation by a
preponderance of the evidence. In order to establish any violation
by the defendant, the government is entitled to rely on statements

and information given by the defendant pursuant to this agreement.

30. If this agreement is declared breached:

a. the defendant shall thereafter be subject to
prosecution for any federal criminal violations of
which the government has knowledge, including but
not limited to, perjury and obstruction of justice;

b. the government may withdraw any motion filed
pursuant to Sentencing Guidelines §5K1.1, Title 18,
United States Code, Section 3553(e) and/or Rule
35 (b) ;

c;. the defendant has no right to withdraw the guilty
plea;

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d. the defendant shall waive all rights under Fed. R.
Crim. P. 11(f), Fed. R. Evid. 410 and Sentencing
Guidelines § 1B1.8 and the defendant expressly
agrees that all statements, testimony and tangible
objects provided by the defendant (with the
exception of statements made in open court during
guilty plea proceedings), whether prior or
subsequent to this agreement, can be used directly
and indirectly in any and all criminal proceedings
against the defendant; and

e. the defendant agrees that any charges that were
dismissed pursuant to this agreement shall he
automatically reinstated upon motion of the
government. Furthermore, the defendant agrees not
to assert the statute of limitations as a defense
to. any criminal offense involving or related to the
facts set forth in Section II of this plea
agreement which is not time barred as of the date
of this agreement. This waiver shall be effective
for a period of six months following the date upon
which the Court's order declaring the agreement
breached by the defendant becomes final.

31. At the time of sentencing, the government will make the
nature and extent of the defendant's compliance with this agreement
known to the Court. The government and the defendant will request
that sentencing be adjourned until full satisfaction by the
defendant of the terms of this agreement. In the event the
defendant is sentenced prior to the completion of the defendant’s
cooperation with the government, the government reserves the right
to modify any recommendation to be made by the government at
sentencing pursuant to Guidelines § 5K1.1 and/or Title 18, United

States Code, Section 3553(e)}.

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32. The defendant's attorney is permitted to be present at
any time the defendant is questioned or interviewed by government

agents regarding the matters set forth in this agreement.

VIII. TOTAL AGREEMENT AND AFFIRMATIONS

33. This plea agreement represents the total agreement
between the defendant and the government. There are no promises
made by anyone other than those contained in this agreement. This
_ agreement supersedes any other prior agreements, written or oral,

entered into between the government and the defendant.

TERRANCE P. FLYNN
United States Attorney
Western District of New York

BY:

Assistant U. S. Attorney

Dated: Phriemtia 7 , 2008

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I have read this agreement, which consists of 17 pages. I
have had a full opportunity to discuss this agreement with my
attorney. I agree that it represents the total agreement reached
between myself and the government. No promises or representations
have been made to me other than what is contained in this
agreement. I understand all of the consequences of my guilty plea.
I fully agree with the contents of this agreement. I am signing

this agreement voluntarily and of my own free will.

Quyh Mrclirrer

JQSEPH ANDERSON
Defendant

Dated: uf 7 , 2008

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TERRENCE M. CONNORS, ESQ.
Attorney for the Defendant

Dated: Ie /5 , 2008
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